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DENNIS K. BURKE

United States Attorney

District of Arizona

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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

UNITED STATES OF AMERICA,
Plaintiff,
VS.
Jonathan Horowitz,

Defendant.

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The United States of America and the defendant, Jonathan Horowitz, agree to the

following disposition of this matter:

PLEA

 

Defendant will waive his right to indictment and plead guilty to an Information,
which will charge the defendant with one violation of Title 18, United States Code,
Sections 371, two violations of Title 18, United States Code, Section 924(a)(1)(A), and one
violation of Title 18, United States Code, Section 922(e), all felony offenses.

ELEMENTS OF THE CRIME
Count One: Conspiracy-Title 18 U.S.C. Section 371

 

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PLEA AGREEMENT
(Filed Under Seal)

 

The elements of the crime of conspiracy are:

a, there was an agreement between two or more persons to commit at least one

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of the crimes charged in the information, to wit:
° make false statements in connection with the acquisition of firearms from federally
licensed firearms dealers in violation of Title 18, United States Code, Section 924(a)(1)(A);
° export and take out of the United States of America and into the Republic of Mexico
articles on the United States Munitions List without having first obtained from the
Department of State a license for such export and written authorization for such export in
violation of Title 22, United States Code, Sections 2778 (b)(2) and 2778 (c), and Title 22,
Code of Federal Regulations, Sections 121.1, 123.1, and 127.1;
. export and send from the United States, merchandise, article, and an object contrary
to any law and regulation of the United States knowing the same to be intended for
exportation contrary to any law and regulation of the United States in violation of Title 18,
United States Code, Section 554;
. willfully transfer firearms to a person or persons who were not licensed as importer,
dealer, manufacturer, and collector of firearms within the meaning of Chapter 44, Title 18,
United States Code, and knowing and with reasonable cause to believe such person or
persons was not then residing in the State of Arizona, said defendant not being licensed
importers, manufacturers, dealers, and collectors of firearms within the meaning of Chapter
44, Title 18, United States Code, in violation of Title 18, United States Code, Section
922(a)(5);

b. the Defendant joined the conspiracy knowing of at least one of its objects
and intending to help accomplish it; and

¢. one of the members of the conspiracy performed at least one overt act for the
purpose of carrying out the conspiracy.
Count Two and Three: False Statement in Purchase of Firearm, Title 18 U.S.C.

Section 924(a)(1)(A)

The elements of the crime of False Statement in Purchase of a Firearm are:

 
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a. the Defendant knowingly made a false statement or representation;

b. the Defendant made such false statement or representation to a licensed
dealer, manufacturer, importer or collector of firearms within the meaning of Chapter 44,
Title 18, United States Code; and

C. the statement pertained to information the law requires the licensed dealer,
manufacturer, importer or collector to keep.

Count Four: Delivery of Firearm to Common Carrier without NoticeTitle 18 U.S.C.
Section 922(e)

The elements of Delivery of a Firearm to a Common Carrier without Notice are:

a. The defendant was not licensed to deal, import, manufacture, or collect

firearms;

b. The defendant knowingly delivered or caused to be delivered to a common

or contract carrier for shipment in interstate or foreign commerce;

c. A package or container with firearms;

d. The defendant did not provide written notice to the carrier that the package
or container had firearms; and

e. The person to whom the firearms were to be delivered was not a licensed

importer, manufacturer, dealer, and collector of firearms,
TERMS

The defendant understands the guilty plea is conditioned upon the following terms,

stipulations, and requirements:
Maximum Penalties

a. Count One: A violation of Title 18, United States Code, Sections 371 is
punishable by a maximum term of five (5) years imprisonment, a maximum fine of
$250,000, or both, and a term of supervised release of not more than three (3) years.

b. Count Two and Three: A violation of Title 18, United States Code, Section

 
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924(a)(1)(A) is punishable by a maximum term of five (5) years imprisonment, amaximum
fine of $250,000.00, or both, and a term of not more than three (3) years supervised release.

c. Count Four: A violation of Title 18, United States Code, Section 922(e) is,
pursuant to Section 924(a)(2), punishable by a maximum term of five (5) years
imprisonment, a maximum fine of $250,000.00, or both, and a term of not more than three
(3) years supervised release.

d. Pursuant to Title 18, United States Code, Section 3611, the court shall order
the defendant to pay a fine, which may include the costs of probation, supervised release
or incarceration, unless the defendant establishes the applicability of the exceptions found
therein.

e. Pursuant to Title 18, United States Code, Section 3583, the court shall order
the defendant to serve a term of supervised release when required by statute or when a
sentence of imprisonment of more than one year is imposed, and the court may impose a
term of supervised release in all other cases.

f. Pursuant to Title 18, United States Code, Section 3013, the court is required
to impose a special assessment on the defendant of $100.00 per felony count. The special
assessment is due at the time the defendant enters the plea of guilty, but in no event shall
it be paid later than the time of sentencing.

g. Defendant understands that the Court is required to consider the United States
Sentencing Guidelines (“Sentencing Guidelines”) among other factors in determining
defendant’s sentence. Defendant understands, however, that the Sentencing Guidelines are
only advisory, and that after considering the Sentencing Guidelines, the Court may be free
to exercise its discretion to impose any reasonable sentence up to the maximum set by
statute for the crimes of conviction.

Factual and Advisory Guidelines Stipulation

This Office and the Defendant understand, agree and stipulate to the

 
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Statement of Facts set forth below and to the following applicable sentencing guidelines
factors which would be proved beyond a reasonable doubt.

a. The base offense level for a violation of 18 U.S.C. §371 is driven by the
base offense level from the guideline for the substantive offense, plus any adjustments from
such guideline for any intended offense conduct that can be established with reasonable
certainty. U.S.S.G. § 2EX1.1(a); Application Note 1. The base offense level fora violation
of 22 U.S.C. Section 2778 is 26. U.S.S.G. §2M5.2 (a)(1). The United States and the
Defendant agree that the enhancement found in 2K2.1 (b)(1) is not applicable as the
quantity of guns involved is accounted for in 2M5.2(a)(1).

| The base offense level for a violation of 18 U.S.C. §924(a)(1)(A) is 12.
U.S.S.G. §2K2.1(a)(7). There is an 8 level enhancement as the offense involved between
100-199 guns. U.S.S.G. §2K2.1(b)(1)(D). The enhancement under (b)(5) for “trafficking”
results in a further 4-level enhancement. The adjusted offense level as to Counts Two and
Three would be 24.

The base level offense for a violation of 18 U.S.C. §922(a)(5) is 12. U.S.S.G.
§2K2.1(a)(7). There is a 4 level increase as the offense involved between 8 and 24 guns.
U.S.S.G. §2K2.1(b)(1)(B). The enhancement under (b)(5) for “trafficking” results in a
further 4-level increase. The adjusted offense level as to Count Four would be 20.

The offense level for the most serious crime which constitutes the relevant conduct
in this case is used to determine the combined offense level under the grouping rules
contained in Chapter 3 of the Sentencing Guidelines. U.S.S.G. §3D1.2 . The offenses do
“group”, U.S.S.G. § 3D1.(b); thus there is one unit, resulting in no increase in offense level.
Therefore, the adjusted base offense level in this case, prior to acceptance of responsibility,
is 26.

b. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level, based upon the Defendant’s prompt recognition and affirmative acceptance

of personal responsibility for his criminal conduct. This Office agrees to make a motion

 

 
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pursuant to U.S.S.G. § 3E1.1(b) for an additional one-level decrease in recognition of the
Defendant’s timely notification of his intention to plead guilty. This Office may oppose
any adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and
every item in the factual stipulation; (b) denies involvement in the offense; (c) gives
conflicting statements about his involvement in the offense; (d) is untruthful with the Court,
this Office, or the United States Probation Office; (e) obstructs or attempts to obstruct
justice prior to sentencing; (f) engages in any criminal conduct between the date of this
agreement and the date of sentencing; or (g) attempts to withdraw his plea of guilty.

C. The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense
level if he is a career offender or if the instant offense was a part of a pattern of criminal
conduct from which he derived a substantial portion of his income.

d. This Office and the Defendant agree that with respect to the calculation of
the advisory guidelines range, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in Chapters 2, 3, 4 or 5 of the United
States Sentencing Guidelines will be raised or are in dispute.

If the Defendant intends to argue for any factor that could take the sentence outside of the
advisory guidelines range, he will notify the Court, the United States Probation Officer and
government counsel at least ten days in advance of sentencing of the facts or issues he
intends to raise.

Obligations of the United States Attorney’s Office

a. This Office has no obligations other than as stated above with regard to making
a motion pursuant to U.S.S.G. § 3E1.1(b) for a one-level reduction for early acceptance of
responsibility.

b. If the court, after reviewing the plea agreement, concludes that any provision
is inappropriate, it may reject the plea agreement giving the defendant, in accordance with

Fed. R. Crim. P. 11(c)(5), an opportunity to withdraw the guilty plea.

 
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Cc. This plea agreement is expressly conditioned upon the accuracy of the
defendant's criminal history as known by the government at the time of the plea. The
discovery of any criminal history in addition to that known shall entitle the government to
withdraw from this agreement.

d. The defendant understands that the Probation Department will conduct its
own investigation and that the Court ultimately determines the facts and law relevant to
sentencing, and that the Court's determinations govern the final advisory Sentencing
Guidelines calculation.

AGREEMENT AS TO FORFEITURE

a. Defendant, Jonathan Horowitz, knowingly and voluntarily agrees to forfeit
all right, title and interest in the firearms listed in Attachments A and B.

b. Defendant admits that he purchased or conspired to purchase the firearms
listed in Attachment B, in violation of Title 18, United States Code, Sections 371 and
924(a)(1)(A), for the total purchase price of $21, 912:

c. Defendant further admits that the firearms listed in Attachments A and B
represent property involved in the commission of the offense, and are therefore forfeitable
pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,
Section 2461.

d. Defendant admits that since purchasing the firearms listed in Attachment B,
he has transferred them, sold them or deposited them with a third person and that they are
no longer available for forfeiture. |

e. Defendant knowingly and voluntarily agrees to pay $21,912 in satisfaction
of the retail value of the firearms in Attachment B at the time of the offense.

f. Defendant agrees to pay at least $5000 via cashier’s check, made payable to
the United States Marshals Service and delivered to the U.S. Attorney’s Office for the
District of Arizona, Tucson Office, at least twenty (20) days prior to sentencing. Defendant

further agrees to make monthly payments as a special condition of his supervised release,

 

 

 
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in an amount to be agreed upon by he and his probation agent, such amount to be sufficient
to pay the balance within the period of supervised release.

g. In the event that the defendant does not remit a cashier’s check in the

amount of $5000 to the government twenty (20) days prior to sentencing, or in the event

the defendant has not paid the full amount by the end of his supervised release, the
defendant knowingly and voluntarily agrees that pursuant to Title 21, United States Code,
Section 853(p), the United States will seek forfeiture of any other property of said
defendant up to the value of the money judgment ($21,912), including but not limited to all
property, both real and personal, owned by the defendant.

h. Defendant knowingly and voluntarily agrees not to pursue any filed

claims, and to waive all interest in the assets listed in Attachments A and B, in any
administrative, civil or criminal judicial proceeding, whether state or federal, which may
be initiated.

i. Defendant knowingly and voluntarily agrees to consent to the entry
of orders of forfeiture for the firearms listed in Attachments A and B, or any assets that are
related to satisfying the $21,912 covered by this agreement, and waives the requirements
of Federal Rules of Criminal Procedure, Rules 7 and 32.2 regarding notice of the forfeiture
in the charging instrument, announcement of the forfeiture at sentencing, and incorporation
of the forfeiture in the judgment.

j. The defendant acknowledges that he understands that the forfeiture of assets
is part of the sentence that may be imposed in this case and waives any failure by the Court
to advise him of this, pursuant to Federal Rule of Criminal Procedure 11(b)(1)(J), at the
time his guilty plea is accepted.

k, Defendant knowingly and voluntarily agrees to waive all constitutional,

legal, and equitable defenses to all constitutional and statutory challenges in any manner
(including direct appeal, habeas corpus, any jeopardy defense or claim of double jeopardy,

or any other means), and knowingly and voluntarily agrees to waive any claim or defense

 
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under the Eighth Amendment to the United States Constitution, including any claim of
excessive fine or punishment, to any forfeiture carried out in accordance with this plea
agreement on any grounds.

1. Defendant warrants that he is the owner or has an interest in the property
listed in Attachments A and B, and knowingly and voluntarily agrees to hold the United
States, its agents and employees harmless from any claims whatsoever in connection with
the seizure or forfeiture of the above-listed asset covered by this agreement.

m. Defendant knowingly and voluntarily agrees and understands the

forfeiture of the assets listed in Attachment A and the value of the firearms listed in
Attachment B shall not be treated as satisfaction of any assessment, fine, restitution, cost
of imprisonment, or any other penalty this Court may impose upon the defendant in addition
to the forfeiture.
Other Agreements

a. The United States retains the unrestricted right to make any and all
statements it deems appropriate to the Probation Office and to make factual and legal
responses to any statements made by the defendant or defense counsel or objections to the
presentence report or to questions by the court at the time of sentencing.

b. The Defendant will surrender to the Probation Department his passport
and/or any other document which would permit him to lawfully leave or re-enter the United
States.

Entire Agreement
This agreement supersedes any prior understandings, promises, or conditions
between this Office and the Defendant and constitutes the complete plea agreement in this
case. There are no other agreements, promises, undertakings or understandings between the
Defendant and this Office other than those set forth in this agreement, and none will be

entered into unless in writing and signed by all parties.

 
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Waiver of Defenses and Appeal Rights

The defendant waives any and all motions, defenses, probable cause determinations,
and objections which the defendant could assert to the indictment or information, or to the
Court's entry of judgment against the defendant and imposition of sentence upon the
defendant, providing the sentence is consistent with this agreement. The defendant further
waives: (1) any right to appeal the Court's entry of judgment against defendant; (2) any right
to appeal the imposition of sentence upon defendant under Title 18, United States Code,
Section 3742 (sentence appeals); and (3) any right to collaterally attack defendant's
conviction and sentence under Title 28, United States Code, Section 2255, or any other
collateral attack. The defendant acknowledges that this waiver shall result in the dismissal
of any appeal or collateral attack the defendant might file challenging his/her conviction or
sentence in this case. If the defendant files a notice of appeal or a habeas petition,
notwithstanding this agreement, defendant agrees that this case shall, upon motion of the
United States, be remanded to the district court to determine whether defendant is in breach
of this agreement and, if so, to permit the United States to withdraw from the plea
agreement.

Perjury and Other False Statement Offenses or Other Offenses

Nothing in this agreement shall be construed to protect the defendant in any way
from prosecution for perjury, false declaration or false statement, or any other offense
committed by defendant after the date of this agreement.

Disclosure of Information to U.S. Probation Office

a. Defendant understands the United States’ obligation to provide all information
in its file regarding defendant to the United States Probation Office.

b. The defendant will cooperate fully with the United States Probation Office.
Such cooperation will include truthful statements in response to any questions posed by the

Probation Department, including, but not limited to:

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(1) all criminal history information, i.e., all criminal convictions as defined
under the Sentencing Guidelines;

(2) all financial information, e.g., present financial assets or liabilities that
relate to the ability of the defendant to pay a fine or restitution;

(3) all history of drug abuse which would warrant a treatment condition
as part of sentencing; and

(4) all history of mental illness or conditions which would warrant a
treatment condition as a part of sentencing.

Breach of the Agreement
If the defendant fails to comply with any obligation or promise pursuant to this

agreement, the United States:

a. may argue for any sentence for the offenses to which defendant has pled
guilty, and the defendant understands that the defendant shall not be permitted to withdraw
the plea of guilty in this agreement.

b. may prosecute the defendant for any offense known to the United States for
which the defendant is responsible, and defendant waives any statute of limitations, Speedy
Trial Act, and constitutional restrictions for bringing charges after the execution of this
agreement.

Reinstitution of Prosecution
If defendant's guilty plea is rejected, withdrawn, vacated, or reversed at any time,
the United States will be free to prosecute the defendant for all charges of which it has
knowledge, and any charges that have been dismissed because of this plea agreement will
be automatically reinstated. In such event, defendant waives any objections, motions, or
defenses based upon the Statute of Limitations, the Speedy Trial Act or constitutional
restrictions in bringing of the later charges or proceedings. The defendant understands that

any statements made at the time of the defendant's change of plea or sentencing may be

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used against the defendant in any subsequent hearing, trial, or proceeding as permitted by

Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410.

FACTUAL BASIS

I agree that the following facts accurately describe my conduct in connection with
the offense to which I am pleading guilty; and, that if this matter were to proceed to trial,
the government could prove the elements of the offense beyond a reasonable doubt based
on the following facts:

In March 2006, the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”)
was alerted to suspicious purchases of firearms and began an investigation into such
purchases by Gregory Gonzalez. The investigation expanded to include purchases by
Jonathan Horowitz and Ismael Betancourt. Gun purchasers are required to execute an ATF
Form 4473, which includes certifying that the individual filling out the form to purchase
a firearm is the actual purchaser, i.e., not a “straw” purchaser for someone else.

Between February 26, 2006 and April 8, 2006, in the State of Arizona, the defendant
completed ATF Form 4473 for the purchase of 45 firearms, consisting of forty AR-15 type
firearms and five Bushmaster semi-automatic rifles. Gonzalez, accompanied by Betancourt
on at least one occasion, completed ATF Form 4473 for twenty-six AR-15 type firearms.
In April 2006, Gonzalez ordered from a Federally licensed firearms dealer (hereinafter
FFL) fifty AR-15 type weapons and provided a $2500 cash deposit.

On April 12, 2006, Horowitz contacted the FFL to advise that he would be taking
Gonzalez’s place for the purchase of the fifty AR-15 type lower receivers, which includes
the operating parts within the firearm and thus equates to a “firearm” under the definition
established within 18 U.S.C. Section 921(a)(3). On April 13, 2006, Horowitz and
Betancourt came to the FFL’s location in Tucson, Arizona to complete the purchase.
Horowitz completed the ATF Form 4473, in which Horowitz falsely claimed to be the

actual purchaser of the guns. Horowitz paid an additonal $10,700 cash for the guns. The

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guns were loaded into a gold Dodge Neon, the same vehicle used to transport guns that had
been purchased by Gonzalez.

Shortly after this April purchase, Horowitz and Betancourt ordered an additional 50
AR-15 type weapons (lower receivers) and provided a $5000 cash down-payment. On May
21, 2006, Horowitz and Betancourt arrived at a gun show in Phoenix to complete the
transaction. Horowitz filled out the ATF form 4473 falsely representing that he was the
actual purchaser of the firearms. Betancourt provided the remaining cash for the purchase.
During the course of the transaction a conversation occurred during which Horowitz and
Betancourt indicated to the FFL their boss was pleased with the business relationship.
Horowitz also said that if the FFL took a trip to Tijuana he might be able to meet the boss.

Subsequent to this purchase, Horowitz had several conversations with the FFL
concerning purchasing the upper receivers from the FFL. During the course of these
conversations, Horowitz mentioned his boss being displeased with the current source of
upper receivers and on some occasions stated he needed to speak to his boss for direction
in how to proceed.

On or about June 15, 2006, ATF was notified by United Parcel Service (“UPS”) that
they had opened a suspicious package being shipped to “Roberto Hernandez” in San Diego
by Ismael Betancourt. The package was found to contain seventeen AR-15 type lower
receivers. Neither Ismael Betancourt, Jonathan Horowitz, nor Roberto Hernandez was
licensed by ATF as an importer, dealer, manufacturer, or collector of firearms within the
meaning of Chapter 44, Title 18, United States Code. Several days later ATF seized the
weapons in this shipment after obtaining a search warrant to do so. The serial numbers
matched some of the guns which had been purchased by Horowitz and Betancourt on May
21. On June 27, 2006, Horowitz, using a false name, and Betancourt came to the UPS store
to inquire about the status of the package and why it was seized.

In September 2008, ATF contacted Horowitz and requested an interview. Horowitz

was advised of his Miranda rights, which he waived before agreeing to speak with the

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agents. He advised that he had purchased all of the weapons for a person located in
Tiyuana, Mexico

and that often the guns were shipped or driven to San Diego before being taken across the
border. He advised that he had personally taken some of the guns across the border to
Mexico.

All of the guns purchased by Horowitz, Gonzalez, and Betancourt are on the US
Munitions List as stated in 22 CFR 121.1 ; none of the aforementioned persons has a license
to export such weapons nor has other authorization to export such firearms.

[ understand that I will have to swear under oath to the accuracy of this statement,
and if I should be called upon to testify about this matter in the future, any intentional
material inconsistencies in my testimony may subject me to additional penalties of perjury
or false swearing which may be enforced by the United States under this agreement.

In addition, the above statement of facts is a summary, which is intended to provide
a factual basis that will allow the Court to evaluate whether it should accept my plea of
guilty. This statement is not a full recitation of all relevant facts known by me or that could
be proven by the United States regarding the matters described above.

DEFENDANT'S APPROVAL AND ACCEPTANCE

I have read each of the provisions of the entire plea agreement with the assistance
of counsel and understand its provisions, and I voluntarily agree to them.

I have discussed the case and my constitutional and other rights with my attorney.
I understand that by entering my plea of guilty I will be giving up my rights to plead not
guilty, to trial by jury, to confront, cross-examine, and compel the attendance of witnesses,
to present evidence in my defense, to remain silent and refuse to be a witness against myself
by asserting my privilege against self-incrimination -- all with the assistance of counsel --
and to be presumed innocent until proven guilty beyond a reasonable doubt.

I agree to enter my guilty plea as indicated above on the terms and conditions set

forth in this agreement.

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I have been advised by my attorney of the nature of the charges to which I am
entering my guilty plea. I have further been advised by my attorney of the nature and range
of the possible sentence and that my ultimate sentence will be determined after
consideration of the advisory Sentencing Guidelines. I understand that the guideline range
referred to herein or discussed with my attorney is not binding on the court and is merely
an estimate. I further understand that under certain limited circumstances the court may
depart upward or downward from the calculated guideline range.

My guilty plea is not the result of force, threats, assurances or promises other than
the promises contained in this agreement. I agree to the provisions of this agreement as a
voluntary act on my part, rather than at the direction of or because of the recommendation
of any other person, and I agree to be bound according to its provisions.

I fully understand that, if] am granted probation or placed on supervised release by
the court, the terms and conditions of such probation/supervised release are subject to
modification at any time. I further understand that, if I violate any of the conditions of my
probation/supervised release, my probation/supervised release may be revoked and upon
such revocation, notwithstanding any other provision of this agreement, I may be required
to serve a term of imprisonment or my sentence may otherwise be altered.

I agree that this written plea agreement contains all the terms and conditions of my
plea and that promises made by anyone (including my attorney), and specifically any
predictions as to the guideline range applicable, that are not contained within this written
plea agreement are without force and effect and are null and void.

I am satisfied that my defense attorney has represented me in a competent manner.

Iam fully capable of understanding the terms and conditions of this plea agreement.
Tam not now on or under the influence of any drug, medication, liquor, or other intoxicant
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or depressant, which would impair my ability to fully understand the terms and conditions

of this plea agreement.

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DEFENSE ATTORNEY'S APPROVAL

T have discussed this case and the plea agreement with my client, in detail and have
advised the defendant of all matters within the scope of Fed. R. Crim. P. 11, the
constitutional and other rights of an accused, the factual basis for and the nature of the
offense to which the guilty plea will be entered, possible defenses, and the consequences
of the guilty plea including the maximum statutory sentence possible. I have further
discussed the sentencing guideline concept with the defendant. No assurances, promises,
or representations have been given to me or to the defendant by the United States or by any
of its representatives which are not contained in this written agreement. I concur in the
entry of the plea as indicated above and on the terms and conditions set forth in this
agreement as in the best interests of my client. ] agree to make a bona fide effort to ensure
that the guilty plea is entered in accordance with all the requirements of Fed. R. Crim. P.

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Date KURT ALTMAN, Esq.
Attorney for Defendant

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UNITED STATES' APPROVAL

I have reviewed this matter and the plea agreement. | agree on behalf of the United

States that the terms and conditions set forth are appropriate and are in the best interests of

Justice.

5 lifdvio
Date

DENNIS K BURKE
United States Attorney
District of Arizona

LANNY A. BREUER

Assistant Attorney General
Criminal Division

United States Department of Justice

Laura J.Gwint /
Trial Attorney
United States Department of Justice

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Attachment A (Firearms Seized on or about June 24, 2006)

DPMS AR-15 LOWER RECEIVER 0.223
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F047712K
F047738K
F048027K
F047728K
F048022K
F048025K
F048016K
F047743K
F048020K
F048194K
F048013K
F047720K
FQ47727K
F048189K
F047722K
F047999K
F048199K

 
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Attachment B

DPMS Model A-15, .223 caliber, serial numbers

F043754K, F043799K, F043800K, F043801K, F043802K, F043803K,
F043804K,F043805K, F043806K, F043807K, F043809K, F043810K, F04381 1K,
F043812K, F043813K, F043814K, F043815K, F043817K, F043818K, F043819K,
F043820K, F043821K, F043822K, F043823K, F043825K, F043827K, F043 829K,
F043830K, F043831K, F043832K, F043833K, F043834K, F043835K, F043 836K,
F043837K, F043 838K, F043839K, F043842K, F043843K, F043845K, F043846K.
F043847K, F043 849K, F043850K, F043852K, F043853K, F043854K, F043855K.
F043856K, F043857K

DPMS Model A-15, .223 caliber, serial numbers:

F047701K, F047703K, F047706K, F047711K, F047713K, F047719K, F04772 IK,
F047725K, F047736K,F047737K, F047746K, F047747K, F047749K, F047751K.
F047755K, F047997K, F048001K, F048002K, F048006K, F048009K, F048010K,
F048011K, F048015K, F048017K, F048021K, F048026K, F048028K, F048029K,
F048030K, F048032K, F048183K, F048207K, F048209K

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